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                                                                                               November 18, 2020

BY ELECTRONIC MAIL

The Honorable Andrew L. Carter, Jr.
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

Re:          United States v. Reginald Fowler, S3 19 Cr. 254 (ALC): Ex Parte Affirmation –
             Contains Attorney-Client Privileged Materials

Dear Judge Carter:

Pursuant to the Court’s directive at the conference in this matter on Friday, November 13, 2020,
we respectfully submit this ex parte letter, under seal, to supplement our motion to withdraw as
counsel, filed on November 9, 2020. The purpose of this submission is to provide the Court with
an expanded factual basis, which would otherwise be protected by the attorney-client privilege,
to support our motion to withdraw. Based on the following, we respectfully submit that the
Court should grant the motion and permit Hogan Lovells US LLP and Rosenblum Schwartz &
Fry, P.C. to withdraw from the case.

      •      From the very inception of this matter, we have been led to believe that Mr. Fowler is a
             high net worth individual with substantial assets, which would allow him to pay his legal
             bills with little hardship. Throughout the relationship, Mr. Fowler has never indicated
             that he did not possess assets sufficient to cover our legal bills. On the contrary, Mr.
             Fowler has insisted that he maintains the ability, or will soon have sufficient ability, to
             pay his legal bills. Beyond Mr. Fowler’s representations, there have been multiple
             indications, detailed below, over the course of this relationship that have led us
             reasonably to believe that Mr. Fowler has the ability to honor his contractual obligations
             pursuant to our retainer agreements. Moreover, on our end, we have undertaken
             significant effort and due diligence to assist Mr. Fowler in identifying available assets or
             funds to satisfy those contractual obligations. Yet, to this day, despite repeated requests
             and efforts, we have not received payment of a single invoice beyond the $25,000 initial
             retainer received on November 6, 2018, while our current bill exceeds $600,000.


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LLP and Hogan Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf
Frankfurt Hamburg Hanoi Ho Chi Minh City Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis
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•   Mr. Fowler was first referred to us as a potential client in or around October 2018. An
    engagement letter was sent to Mr. Fowler on or about October 31, 2018, and we then had
    our first meeting with Mr. Fowler on November 8, 2018. This meeting occurred at
    around the time that Mr. Fowler was contacted by agents of the Federal Bureau of
    Investigation (the “FBI”). At that first meeting, Mr. Fowler told us that he possessed a
    letter from                   stating that, since 2015 (i.e., long before the commencement
    of the charged conspiracy), he had millions of dollars in personal funds in an account
            . Mr. Fowler also represented that he had significant amounts of personal funds
                                (Mr. Fowler made this representation repeatedly during the
    course of the representation). Nevertheless, Mr. Fowler informed us at the time that the
    Department of Justice had recently frozen both his
            . When we agreed to represent Mr. Fowler, it was our understanding that he had
    been targeted by cryptocurrency businessmen seeking to take advantage of Mr. Fowler’s
    personal balance sheet as a means of transacting cryptocurrency transactions without
    drawing the attention of bank compliance officers or regulators.

                      As noted, it was during this period of time that Mr. Fowler made his
    first and last payment of $25,000 to Hogan Lovells.

•   In other meetings, in and around late 2018, Mr. Fowler further represented to us that he
    had real estate investments worth a couple hundred million dollars, leased and/or
    operated over a dozen properties                                , had over $50 million
    available to him                                    , owned or was involved in a litany
    of business ventures

                                                              .

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•   In May 2019, following his arrest in Arizona on an SDNY indictment, Mr. Fowler’s
    release was conditioned on a $5 million personal recognizance bond, secured by five
    properties that he owned. As part of the bail package, the defense demonstrated that the
    estimated value of the five properties posted was in excess of $1.3 million. Notably, in
    or around the same time period, Mr. Fowler represented to us that he owned additional
    properties that could also be posted for bail purposes, if necessary.



•   After his release on bail, one of the first things Mr. Fowler did was to retain Scott
    Rosenblum of Rosenblum, Schwartz & Fry, P.C., to join the defense team. Mr.
    Rosenblum and Mr. Fowler agreed to a retainer fee of $275,000 and then, were the case
    to proceed to trial, an additional retainer of $85,000 per week for the trial. Mr.
    Rosenblum and Mr. Fowler entered this agreement in the understanding that Mr.
    Rosenblum would be part of a team and participate in the trial as one of the lead trial
    lawyers. Importantly, neither Mr. Fowler nor Mr. Rosenblum ever contemplated that Mr.
    Rosenblum, or his firm, would serve as Mr. Fowler’s sole representation. Mr.
    Rosenblum received a partial retainer of $100,000, an amount that Mr. Rosenblum has
    exceeded in his representation so far of Mr. Fowler. Significantly, Mr. Fowler paid Mr.
    Rosenblum the $100,000 retainer while he had several unpaid, overdue invoices for legal
    services issued by Hogan Lovells.

•




•   During the course of the representation, Mr. Fowler represented to us – and provided
    documentary evidence corroborating – that he owns a company
                             , which holds bonds                                        with
    a value of $900 million that were issued by an entity identified                   .



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•   Additionally,                         Mr. Fowler’s lawyer in Portugal,
        was being paid by Mr. Fowler for her services. We also have been provided and
    reviewed invoices issued by the international law firm of Reed Smith LLP indicating that
    Mr. Fowler paid that firm for legal services rendered in 2018. The fact that other
    attorneys had received payments from Mr. Fowler for their services led us reasonably to
    believe that Mr. Fowler’s representations to us that he would pay our bills was truthful.

•   The record will demonstrate that beginning in the second half of 2019, we continued to
    be very diligent about seeking payment from Mr. Fowler, and sent him several e-mail
    communications to that effect. It was in or around that time that Mr. Fowler represented
    that he was working on a separate transaction unrelated to GTS or cryptocurrency that
    would generate liquidity to pay his bills. A review of our records indicates
    communications sent to Mr. Fowler requesting information about his progress in making
    his promised payments on: June 25, 2019; December 20, 2019 (following up on a
    representation that we would receive payment that week due to the expected closing of a
    transaction); December 24, 2019 (following up on a subsequent representation from Mr.
    Fowler the day prior that indicated the deal was on the cusp of closing); December 28,
    2019 (following up on the deal closing that was said to permit payment by the week of
    December 16, 2019); January 3, 2020 (again requesting an update as to the same deal);
    January 29, 2020 (asking to discuss a deal Mr. Fowler said to have in place with a
    company                                                                         that
    would help facilitate payment); February 6, 2020 (sending unpaid invoices for previous
    months); February 10, 2020 (following up on unpaid invoices); February 11, 2020
    (asking for an update on the closing of the                      ); and February 18, 2020
    (requesting a status report as to the                     ). Throughout these
    communications, Mr. Fowler consistently represented to us that payment of his
    outstanding legal fees was imminent, that transactions or business deals that would fund
    the payment of our fees were in process, and that there were multiple mechanisms



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    through which he could feasibly fund his defense. He also repeatedly confirmed his
    understandings of his contractual obligations to us and commitment to paying.

•   Based on Mr. Fowler’s representations and the additional evidence discussed above, we
    reasonably believed that Mr. Fowler would satisfy our outstanding legal fees at any
    moment. As Your Honor is aware, this case was set to be resolved by guilty plea on
    January 17, 2020. But for a disagreement over the amount of the forfeiture order,



•   On February 18, 2020, Mr. Fowler provided us with additional information from his
    potential business partners for the                     , demonstrating that the
    transaction would close soon; he also promised that the income from this transaction
    would cover all of his outstanding legal bills.

•   About one month after the failed plea hearing, on February 20, 2020, the Government
    filed a superseding indictment against Mr. Fowler. At this point, we fully realized the
    likelihood that this case could proceed to trial. Accordingly, we advised Mr. Fowler that
    he needed to immediately pay all past invoices and provide a substantial retainer to fund
    the costs of trial preparation and trial. To that end, as mentioned in our current motion,
    we sent Mr. Fowler a letter on February 26, 2020, informing him that we intended to
    move to withdraw if he did not pay all outstanding bills and provide a retainer to fund his
    defense at trial. The high likelihood of this case proceeding to trial was confirmed during
    the March 5, 2020 arraignment of Mr. Fowler on the superseding indictment.

•   Within a week or so after we sent our letter and Mr. Fowler’s arraignment, the COVID-
    19 pandemic took hold. At this point, we could not meaningfully push Mr. Fowler for
    receipt of the outstanding funds because he informed us that his businesses had been
    brought to a complete standstill by the pandemic. Regardless, we continued to contact
    Mr. Fowler in an effort to resolve the fee dispute, which could potentially allow us to
    move forward with his defense. In response to his repeated claims that his business
    ventures would provide funding for his legal expenses, we sent numerous e-mails to Mr.
    Fowler seeking to discuss the payment of the outstanding legal bills on: April 1, 2020;
    May 4, 2020; May 11, 2020; May 12, 2020; May 15, 2020; May 20, 2020; May 21, 2020;
    June 10, 2020; June 17, 2020; and June 23, 2020. No payments were made regardless.

•   During this time period, Mr. Fowler also represented to us that, despite challenges
    brought on by the outbreak of COVID-19, his business partners remained committed to
    completing the                         . Following such a representation on March 13,
    2020, we followed up with him on March 19, 2020, asking for an update on the
    transaction as well as additional potential sources for payment. No payment related to
    this project, or other potential sources, was received. On April 1, 2020, Mr. Fowler
    vowed to have the money he owed to us fully resolved by the end of the summer. No
    portion of the outstanding balance was received by that point either. Further, Mr. Fowler


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    represented, in a communication dated May 15, 2020, that he had raised a portion of the
    past due invoices and had commitments that well exceeded the outstanding balance. He
    also reported that he had multiple assets that were valued in excess of $1 million that he
    was in the process of selling to fund his legal defense. We received no payments in
    connection with the disposition of such assets, or otherwise.

•   Beginning in July of 2020, we pressed Mr. Fowler regarding the outstanding legal bills.
    Mr. Fowler continued to represent to us that he would have substantial income
    imminently that would fund the bills and the required trial retainer. In July, Mr. Fowler
    again informed us that the                         would soon close and provide him with
    substantial income, well over $200,000 per week, which would be used to pay our bills.
    In further support of his claim, on July 2, 2020, we received a letter from
                                   (ranked       by the National Law Journal with over
            in revenue in 2019) on behalf of Mr. Fowler. In the letter,
    informed us that, based on the conversations                   had that day with the primary
    contact for the counterparty in the                       , weekly payments were set to
    begin shortly. In addition,                 represented that, under the investment contract
    entered into by Mr. Fowler, Mr. Fowler was set to receive an initial payment of $200,000
    and weekly payments for the next year of $284,000 per week from the
                 .

•   Since July 2020, Mr. Fowler has continuously represented to us that he would soon start
    to receive payments related to the                      , and that those funds would
    easily source the payment of his legal fees. Nevertheless, Mr. Fowler has not paid any
    portion of the outstanding legal bills.

•   A review of our records indicates that communications were sent to Mr. Fowler regarding
    these or other representations regarding promised payments on: July 1, 2020 (following
    up on payments promised by the end of June); July 23, 2020; August 3, 2020; August 10,
    2020; August 11, 2020; August 14, 2020; August 18, 2020 (inquiring as to the status of
    payments promised the week prior); September 8, 2020; September 16, 2020; September
    17, 2020; September 23, 2020; October 2, 2020; October 6, 2020; October 13, 2020
    (informing Mr. Fowler that we had not received a payment that he had promised we
    would receive the week of October 5th); October 14, 2020 (asking Mr. Fowler for an
    update on the                        he represented would serve as a source of payment);
    October 15, 2020; October 17, 2020; and October 27, 2020.

•   In fact, as recently as October 13, 2020, Mr. Fowler provided us with a list of seven
    properties that he represented as being unencumbered and able to be borrowed against,
    totaling a claimed value of $10.3 million. Since then, we have made inquiries to Mr.
    Fowler about payment of legal bills on October 14, 2020, October 27, 2020; October 30,
    2020; and November 6, 2020, in a final effort to salvage our relationship with Mr.
    Fowler.



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Despite all of his representations and all of our efforts to obtain payment, we still have not
received payment beyond the $25,000 Mr. Fowler paid us in November 2018 to cover the costs
of representing him in connection with                                          the business
activities of GTS.

Mr. Fowler consistently represented that he was able to satisfy his financial obligations to us or
that he was on the precipice of completing a business transaction that would put him in a position
to pay his bills. Our correspondence with Mr. Fowler reflects multiple promises by him to abide
by his contractual obligations, and he repeatedly assured us that payment of his outstanding legal
fees, in at least some amount, was imminent. Crediting everything Mr. Fowler has told us to
date, he appears to have sufficient assets to pay the legal fees he contractually owes, yet, by and
large, has refused to do so. Indeed,                       he owns more than $10 million in real
estate that is unencumbered and could have been liquidated or monetized at any point during the
past two years.

Courts in this District have consistently held that non-payment of attorney’s fees is a proper basis
for counsel to withdraw. See Sentient Flight Grp., LLC v. Klein, No. 7:09-CV-07170, 2011 WL
1431987, at *1 (S.D.N.Y. Jan. 6, 2011) (granting a motion to withdraw where the client failed to
make a payment for any part of legal services rendered in a case that had been ongoing for over a
year); Centrifugal Force, Inc. v. Softnet Commc’n, Inc., No. 08 Civ. 5463(CM)(GWG), 2009 WL
969925, at *2 (S.D.N.Y. Apr. 7, 2009) (“Attorneys are not required to represent clients without
remuneration, and the failure to pay invoices over an extended period is widely recognized as
grounds for leave to withdraw.”); Century Jets Aviation, LLC v. Alchemist Jet Air, LLC, Nos. 08
Civ. 9892(PKL)(KNF), 09 Civ. 7659(PKL)(KNF), 2009 WL 4035642, *2 (S.D.N.Y. Nov. 23,
2009) (collecting cases in support of the “well-settled” fact that non-payment of legal fees is a
proper basis for withdrawal of counsel).

Further, the New York Rules of Professional Conduct specifically state that “a lawyer may
withdraw from representing a client when:…the client deliberately disregards an agreement or
obligation to the lawyer as to expenses or fees.” Id. at 1.16(c)(4). Such is the case here. Despite
the repeated requests for payment under the contract, and Mr. Fowler’s repeated representations
about his ability to pay his legal bills, he has still refused to honor his financial obligations under
the contract. Unfortunately, Mr. Fowler’s refusal to pay his legal bills has led to a breakdown in
the attorney-client relationship. Life Dome Cinema Ministry v. Church Loan & Inv. Tr., 499
F.Supp.2d 399, 401 (S.D.N.Y. 2007) (explaining that withdrawal is permitted when “an
unwillingness or inability to pay…bespeaks of a breakdown in the attorney-client relationship”);
but see Blue Angel Films, Ltd. v. First Look Studios, Inc., 2011 WL 672245, at *2 (S.D.N.Y.
Feb. 17, 2011) (stating that “more recent case law in the Southern and Eastern Districts of New
York has held that non-payment of legal fees alone can be a satisfactory reason for withdrawal”).




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Based on the foregoing, we respectfully request that the Court grant the motion.


                                                    Respectfully submitted,

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